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IN THE UNITED STATES DISTRICT cOURT 35$93|3 VN J‘Q.
FOR THE wESTERN DISTchT OF TENNESSEE

 

WESTERN DIVISION ROEHM'H U` TWO
CLERKLL£S.[¥-: GT
RONALD MCALLISTER, JR_ vvu.wrlN,WEwPHB
Plaintiff,
VS. NO. 01-2925#D V

CITY OF MEMPHIS, et. al.

Defendants.

 

ORDER FOLLOWING STATUS CONFERENCE

 

The Court held a etatus conference regarding the above matter
on April 18, 2005. The Court orally denied the pending Motion for
Bifurcation. Pursuant to the Status conference the following dates
Were Set:

Motions in Limine: Filed by May 27, 2005.

Responsee to Motions in Limine; Filed by June 3, 2005.

Hearing on MotionS in Limine: June 8, 2005 at 9:00 a.m.

This trial is expected to last 4_5 days and is Set for Trial
at 9:00 a.m. Tueeday, July 5, 2005. A pre~trial conference is Set

for Wedneeday, June 8, 2005 at 9:00 a.m.
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IT rs 50 oRDERED this ff day er Aprii, 2005.

 

NITED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

